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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

AUDREY F. EDMONDS,                                          Case No. 3:16-cv-416

                      Plaintiff,                            Judge Thomas M. Rose

       v.

DEPARTMENT OF VETERANS AFFAIRS,

                  Defendant.
______________________________________________________________________________

     ENTRY AND ORDER OVERRULING OBJECTIONS (DOC. 5), ADOPTING
         REPORT AND RECOMMENDATIONS (DOC. 4) AND DISMISSING
                 COMPLAINT (DOC. 3) WITHOUT PREJUDICE
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       This case is before the Court on the Objections (Doc. 5) filed by pro se Plaintiff Audrey F.

Edmonds (“Plaintiff”) to the Report and Recommendations (“Report”) (Doc. 4). In the Report,

Magistrate Michael R. Merz, upon an initial review pursuant to 28 U.S.C. § 1915(e)(2),

recommended that Plaintiff’s Complaint (Doc. 3) be dismissed without prejudice.

       As required by 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure 72(b), the Court has

made a de novo review of the record in this case. Upon said review, the Court finds that

Plaintiff’s Objections (Doc. 5) to the Report (Doc. 4) are not well taken and they are hereby

OVERRULED. The Court ADOPTS the Report (Doc. 4) in its entirety and DISMISSES the

Complaint (Doc. 3) without prejudice to re-filing if Plaintiff can show an exception to sovereign

immunity. This case shall be TERMINATED on the docket of this Court.

       DONE and ORDERED in Dayton, Ohio, this Wednesday, November 2, 2016.

                                                                  s/Thomas M. Rose
                                                          ________________________________
                                                                  THOMAS M. ROSE
                                                          UNITED STATES DISTRICT JUDGE
